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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

 IN RE:
                                                               Chapter 7
 Kamran Liaquat Kurani,
                                                               Case No. 22-50579-PWB
      Debtor.

                           PROOF OF SERVICE OF SUBPOENA

       On July 13, 2022, counsel for Ascentium Capital LLC (“Ascentium”) issued a Subpoena

for Rule 2004 Examination to Adrian Szakallas (the “Subpoena”), as authorized by the Court’s

Order Authorizing Bankruptcy Rule 2004 Examination of Adrian Szakallas [Doc. 20]. A true and

correct copy of the Subpoena is attached as Exhibit 1 hereto. On July 14, 2022, counsel for

Ascentium engaged Phipp’s Reporting as its process server for the Subpoena, on August 3, 2022,

Phipp’s Reported effected service of the Subpoena on Adrian Szakallas. A true and correct copy

of the Return of Service for the Subpoena is attached as Exhibit 2 hereto.

                                                    Submitted by:

                                                    /s/ Tim Colletti
                                                    Tim Colletti
                                                    Georgia Bar No. 972791
                                                    tcolletti@bakerdonelson.com
                                                    Kevin A. Stine
                                                    Georgia Bar No. 682588
                                                    kstine@bakerdonelson.com
                                                    BAKER, DONELSON, BEARMAN,
                                                    CALDWELL & BERKOWITZ, P.C.
                                                    Suite 1500, Monarch Plaza
                                                    3414 Peachtree Road, N.E.
                                                    Atlanta, Georgia 30326
                                                    Tel: (404) 477-6000
                                                    Fax: (404) 221-6501

                                                    Counsel for Ascentium Capital LLC
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                       Exhibit 1
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                                   UNITED STATES BANKRUPTCY COURT
                         NORTHERN
 _______________________________________                   GEORGIA
                                         District of ___________________________________________

        KAMRAN LIAQUAT KURANI
In re __________________________________________                                           22-50579-PWB
                                                                                Case No. _____________________
                                  Debtor
                                                                                           7
                                                                                Chapter ______________


                                           SUBPOENA FOR RULE 2004 EXAMINATION

To:      ADRIAN SZAKALLAS
      ________________________________________________________________________________________
                                                      (Name of person to whom the subpoena is directed)


X Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at an examination
under Rule 2004, Federal Rules of Bankruptcy Procedure. A copy of the court order authorizing the examination is attached.
PLACE                                                                                                DATE AND TIME
 Baker, Donelson, Bearman, Caldwell & Berkowitz, PC, 200 South Orange                                      August 17, 2022, 10:00 AM (EST)
 Avenue, Suite 2900, Orlando, FL 32801, phone: 407.422.6600


                                                                 stenographic means before an officer duly authorized to administer oaths, and
                                                  Plaintiff reserves the right to record the deposition by sound or sound and visual means
The examination will be recorded by this method: ___________________________________________________________

 X Production: You, or your representatives, must also bring with you to the examination the following documents,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the material:
  See Exhibit A, attached hereto
  **Please note - documents are to be produced on or before 10:00 a.m., August 3, 2022, in advance of the the deposition.


        The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
doing so.

       07/13/2022
Date: _____________
                                 CLERK OF COURT

                                                                               OR
                                 ________________________                              /s/ Kevin A. Stine
                                                                                      ________________________
                                 Signature of Clerk or Deputy Clerk                        Attorney’s signature


The name, address, email address, and telephone number of the attorney representing (name of party)
 Ascentium Capital LLC
____________________________       , who issues or requests this subpoena, are:

 Kevin A. Stine, Esq., 3414 Peachtree Road NE, Suite 1500, Atlanta, GA 30326 / kstine@bakerdonelson.com / (404)577-6000


                                 Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Chapter 7                                      PROOF OF SERVICE
                (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

   I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .


          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                       ________________________________________________
                                                                                            Server’s signature

                                                                       ________________________________________________
                                                                                          Printed name and title


                                                                       ________________________________________________
                                                                                            Server’s address


Additional information concerning attempted service, etc.:
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                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                     (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                   (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                     (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                       the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                           (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                       electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                       a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored Information Produced in Only One Form. The
                                                                                       person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                       information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                       responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                       from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                       of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                       order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                       reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                       made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                       information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                              (i) expressly make the claim; and
order compelling production or inspection.
                                                                                              (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                       privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                            (B) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                       preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                       received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                       information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                       until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                       information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                       promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                       where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                       who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                       …
motion, quash or modify the subpoena if it requires:
                                                                                       (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                       also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                       a person who, having been served, fails without adequate excuse to obey
                                                                                       the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
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                                           EXHIBIT A

           ATTACHMENT TO SUBPOENA FOR RULE 2004 EXAMINATION

Definitions

“Documents” refers to any original or copy (whether carbon, photographic, electronic, or digital)
in your possession, custody, or control of any agreements, contracts, applications, bank records or
statements, checks, communications (internal or external), internet postings or messages on social
media, memoranda or minutes of meetings or conversations (personal or telephonic), reports,
summaries, notes, legal documents, recordings, audiotapes, video tapes, electronic recordings, and
writings of every description.

"Communications" refers to any and all written, electronic, and digital communications including,
without limitation, written correspondence, e-mails, text messages, WhatsApp messages,
Facebook messages, Snap Chat messages, Signal messages, Instagram messages, Twitter
messages, and/or messages using any other digital communication platform.

“Relate to” and “relating to” means, without limitation, in any way constituting, mentioning,
referring to, describing, summarizing, evidencing, listing, indicating, relevant to, demonstrating,
tending to prove or disprove, containing, reflecting, concerning, relating to, analyzing, explaining,
or in any way logically or factually connected with the matter discussed.

“Kurani” means Kamran Liaquat Kurani.

“Bankruptcy Case” means Case No. 22-50579-pwb in the U.S. Bankruptcy Court for the Northern
District of Georgia, filed by Kurani on or around January 21, 2022.

Documents to Produce

   •   Produce all communications and other documents that evidence, discuss, establish, or refer
       to any money claim you hold against Kurani, including (but not limited to) the general
       unsecured claim of $292,744.04 identified in Kurani’s Schedule E/F: Creditors Who Have
       Unsecured Claims. This request includes, without limitation, canceled checks, credit card
       receipts, promissory notes, and any other documents that reflect you made one or more
       loans to Kurani.

   •   Produce all of your communications with Kurani from the period of January 1, 2021,
       through the present. This request includes, without limitation, texts and email messages.

   •   Produce all of Bmark Consulting LLC’s communications with Kurani from the period of
       January 1, 2021, through the present. This request includes, without limitation, texts and
       email messages.
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   •   Produce complete copies of any W-2s, 1099s, Schedule K-1s, and other tax reporting
       documents prepared for or submitted to Kurani in connection with any current or previous
       employment with or membership interest in Bmark Consulting LLC.

   •   Produce all communications and other documents relating to any employment agreement
       or any other contract between Bmark Consulting LLC and Kurani.

   •   Produce all communications and other documents relating to any compensation, (including
       salary, bonuses, gifts, gratuities, or fringe benefits of whatever kind or nature) paid to
       Kurani by Bmark Consulting LLC.

   •   Produce the operating agreement (including any amendments thereto) for Bmark
       Consulting LLC.

   •   Produce all communications and other documents that evidence, discuss, establish, or refer
       to any property, accounts, or debts that are jointly owned, held, and/or owed by you and
       Kurani.

   •   Produce all documents and communications that refer or relate to Kurani’s monthly living
       expenses and payment of such expenses since January 1, 2021. This request includes,
       without limitation, utility bills and payments, phone bills and payments, rent and mortgage
       payments, restaurant and other food purchases, and car, taxi, and public transit payments.

   •   Produce all photographs of Kurani in a geographic location other than Atlanta, Georgia
       since January 1, 2021.
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